        Case 1:22-cv-00339-SPB Document 27-3 Filed 11/07/22 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE               )
 OF THE NAACP, et al.,                       )
                                             ) Civil Action No.: 1:22-cv-00339
               Plaintiffs,                   )
                                             )
        v.                                   ) Judge Susan P. Baxter
                                             )
 LEIGH M. CHAPMAN, et al.,                   )
                                             )
               Defendants.                   )


                                  [PROPOSED] ORDER

       AND NOW, this ____ day of November, 2022, upon consideration of the Motion to

Intervene filed by David Ball, James D. Bee, Debra Biro, Jesse D. Daniel, Gwendolyn Mae

DeLuca, Ross M. Farber, Lynn Marie Kalcevic, Vallerie Sicilano-Biancaniello, and S. Michael

Streib, the Republican National Committee, the National Republican Congressional Committee,

and the Republican Party of Pennsylvania, it is hereby ORDERED, ADJUDGED, and DECREED

that the Motion is GRANTED. The clerk is directed to file on the docket Intervenor-Defendants’

Motion to Dismiss.



                                                  ___________________________________
                                                  Honorable Susan P. Baxter
                                                  United States District Judge
